
Green, J.
delivered the opinion of the court.
This is an indictment for selling with false weights. The indictment charges, that defendant being an iron master, kept “certain false weights for weighing iron, goods, wares and merchandise by him sold in the way of his trade.” “And the defendant well knowing said weights to be false, did wilfully, falsely and fraudulently sell to divers persons iron, goods, wares and merchandise which, by reason of having been weighed with said false weights, were very much deficient and short of the true and just weight.” To this indictment the defendant demurred; which demurrer was sustained by the court, and the Attorney General, on behalf of the State, appealed to this court.
The indictment in this case does not charge, that the goods were sold to any particular person,' but states that they were sold to “divers persons.” This we think too vague and indi-finite in a criminal charge. The party ought to be notified by the indictment of the transaction in relation to which he is called on to defend himself.
Whether a party would be indictable for selling by other false weights than those mentioned in the statute, and consequently, whether the particular false weight used in the fraudulent sale should not be described and set forth in the indictment, it is not necessary to decide.
Affirm the judgment.
